[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.] OPINION AND JUDGMENT ENTRY
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This matter is before the court on appeal from the Erie County Court of Common Pleas. On April 8, 1997, appellant, Keith Bousquet, was convicted of interruption of public service, breaking and entering and, receiving stolen property. He received a two year prison sentence. At sentencing, he was informed that the parole board could increase his sentence up to fifty percent should he commit a crime in prison. According to the record before us, appellant has not yet had his prison sentence extended pursuant R.C. 2967.11. He now appeals setting forth five assignments of error challenging the constitutionality of R.C. 2967.11, the sentencing statute which provides for "bad time."
Appellant's five assignments of error are found not well-taken on the authority of this court's decision in State v.Somerlot, et al. (Jan. 23, 1998), Erie County App. No. E-97-02, unreported. Accord, State v. Davis (Dec. 31, 1997), Miami App. No. 97-CA-17, unreported. The judgment of Erie County Court of Common Pleas is affirmed. Costs assessed to appellant.
JUDGMENT AFFIRMED.
A certified copy of this entry shall constitute the mandate pursuant to App.R. 27. See, also, 6th Dist.Loc.App.R. 4, amended 7/1/92.
  ______________________________  George M. Glasser, J.
JUDGE
  ______________________________  Melvin L. Resnick, J.
JUDGE
  ____________________________  James R. Sherck, J.
JUDGE
CONCUR.